Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.1 Page 1 of 15


 1
     Sophia M. Rios (SBN 305801)
     srios@bm.net
 2   BERGER MONTAGUE PC
 3   12544 High Bluff Drive, Suite 340
     San Diego, CA 92130
 4   Telephone: (619) 489-0300
 5   Facsimile: (215) 875-4604

 6   Attorneys for Plaintiff
 7   and the Proposed Collective

 8   [Additional counsel listed on following page]
 9
                         UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11                            SAN DIEGO DIVISION

12   JEFFREY PIPICH, individually and on        Case No.: '21CV1120 L     LL
13   behalf of all others similarly situated,
                                                COLLECTIVE ACTION
14         Plaintiff,                           COMPLAINT FOR VIOLATIONS
15                                              OF:
     v.                                           (1) FAIR LABOR STANDARDS
16                                                    ACT (29 U.S.C. §§ 201, et seq.)
17   O’REILLY AUTO ENTERPRISES,
     LLC, a Delaware corporation,               DEMAND FOR JURY TRIAL
18

19         Defendant.
20

21

22

23

24

25

26

27

28



                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.2 Page 2 of 15


 1
     Shanon J. Carson* (PA 85957)
     scarson@bm.net
 2   Camille Fundora Rodriguez*
 3   (PA 312533, NJ 01764-2011)
     crodriguez@bm.net
 4   Daniel F. Thornton*
 5   (PA 318431, NJ 10857-2014)
     dthornton@bm.net
 6   BERGER MONTAGUE PC
 7   1818 Market Street, Suite 3600
     Philadelphia, PA 19103
 8   Telephone: (215) 875-3000
 9   Facsimile: (215) 875-4604

10   * pro hac vice applications forthcoming
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.3 Page 3 of 15


 1                       COLLECTIVE ACTION COMPLAINT
 2         Plaintiff Jeffrey Pipich (“Plaintiff”), on behalf of himself and all others
 3   similarly situated, brings this lawsuit against O’Reilly Auto Enterprises, LLC,
 4   (“O’Reilly” or “Defendant”), seeking all available remedies under the Fair Labor
 5   Standards Act of 1938, 29 U.S.C. §§ 201, et seq. (“FLSA”). The allegations that
 6   follow are made on personal knowledge as to Plaintiff’s own conduct and on
 7   information and belief as to the acts of others.
 8                                     INTRODUCTION
 9                O’Reilly Auto Enterprises, LLC (“O’Reilly” or “Defendant”), owns
10   and operates a line of automotive retailers that specializes in providing aftermarket
11   parts and accessories to both consumers and businesses. O’Reilly relies on a robust
12   network of distribution centers strategically located across the United Sates to
13   ensure timely product availability and optimal inventory levels throughout their
14   stores. O’Reilly employs thousands of individuals at distribution centers
15   throughout the state of California and the United States, to support the flow of its
16   automobile products into stores nationwide. The manual tasks these employees
17   perform include, without limitation, storing inventory, reviewing and selecting
18   orders, pulling specific parts according to retailers’ needs, packing orders, and
19   loading and delivering orders.
20                This case is about O’Reilly’s failure to provide proper payment of all
21   wages, including regular and overtime wages. As described in further detail below,
22   O’Reilly administered illegal policies requiring its non-exempt workers to undergo
23   COVID-19 screenings and security inspections each day without pay. These pre-
24   shift off-the-clock COVID-19 screenings and pre- and post- shift security checks
25   constitute compensable time that was worked by Plaintiff and Collective Members.
26   By failing to pay for this time worked, O’Reilly has violated the FLSA.
27                              JURISDICTION AND VENUE
28                The FLSA authorizes a private right of action to recover damages for

                                               1
                   COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.4 Page 4 of 15


 1   violation of its wage and hour provisions. 29 U.S.C. § 216(b). This Court has
 2   federal question jurisdiction over Plaintiff’s FLSA claims under 28 U.S.C. § 1331.
 3                Venue is proper in the Southern District of California because O’Reilly
 4   is subject to personal jurisdiction in this District.
 5                O’Reilly is subject to personal jurisdiction before this Court because it
 6   has purposefully availed itself of the privileges of conducting activities throughout
 7   the State of California and established minimum contacts sufficient to confer
 8   jurisdiction. O’Reilly transacts business in California, advertises in California, and
 9   markets to California consumers. The violations of the law forming the basis of
10   this lawsuit occurred in California. Further, O’Reilly employs California residents.
11   Therefore, the assumption of jurisdiction over O’Reilly will not offend traditional
12   notions of fair play and substantial justice and is consistent with the constitutional
13   requirements of due process. O’Reilly also had and continues to have continuous
14   and systematic contacts with the State of California sufficient to establish general
15   jurisdiction over it.
16                     PARTIES AND PERSONAL JURISDICTION
17                Plaintiff Jeffrey Pipich resides in Moreno Valley, California. Plaintiff
18   worked for Defendant as a City Counter Route Driver from approximately July
19   2015 to February 2021. Plaintiff was a non-exempt employee and was
20   compensated on an hourly basis. Pursuant to 29 U.S.C. § 216(b), Plaintiff has
21   consented in writing to be a plaintiff in this action. See Exhibit A.
22                The “FLSA Collective” are all current and former non-exempt
23   employees of O’Reilly who underwent a COVID-19 screening or security
24   inspection during at least one week in the three-year period before the filing of this
25   Complaint to the present.
26                Plaintiff reserves the right to redefine the FLSA Collective prior to
27   notice or certification, and thereafter, as may be warranted or necessary.
28                O’Reilly is a Delaware corporation registered to do business in

                                                2
                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.5 Page 5 of 15


 1   California, and at all relevant times has been engaged in the business of selling
 2   automobile parts in the State of California and nationwide. O’Reilly owns 5,616
 3   stores and relies on a network of 28 distribution centers nationwide to support its
 4   retail operations.
 5               O’Reilly’s corporate headquarters is located at 233 South Patterson,
 6   Springfield, Missouri 65802.
 7               At all material times, O’Reilly has been governed by and subject to the
 8   FLSA, 29 U.S.C. § 207.
 9               O’Reilly employed Plaintiff and continues to employ similarly situated
10   employees as defined by the FLSA, 29 U.S.C. § 203(d). See also 29 C.F.R.
11   791.2(a).
12               At all material times, O’Reilly has been an enterprise within the
13   meaning of section 3(r) of the FLSA. 29 U.S.C. § 203(r).
14               During all times relevant hereto, Plaintiff was an employee of O’Reilly
15   and was covered by the FLSA.
16               The unlawful acts alleged in this Complaint were committed by
17   O’Reilly or O’Reilly’s officers, agents, employees, or representatives, while
18   actively engaged in the management of O’Reilly’s businesses or affairs and with
19   the authorization of O’Reilly.
20               At all material times, the unlawful conduct against Plaintiff and the
21   FLSA Collective as described in this Complaint was actuated, in whole or in part,
22   by a purpose to serve O’Reilly. At all relevant times, the unlawful conduct
23   described in this Complaint was reasonably foreseeable by O’Reilly and
24   committed under actual or apparent authority granted by O’Reilly such that all
25   unlawful conduct is legally attributable to O’Reilly.
26               O’Reilly employs individuals engaged in commerce or in the
27   production of goods for commerce or handling, selling, or otherwise working on
28   goods or materials that have been moved in or produced in commerce by any

                                              3
                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.6 Page 6 of 15


 1   person, as described by 29 U.S.C. §§ 206-207.
 2               O’Reilly’s annual gross sales exceed $500,000.
 3                             FACTUAL ALLEGATIONS
 4               Plaintiff incorporates herein by reference the allegations set forth
 5   above.
 6               Defendant O’Reilly specializes in offering aftermarket automobile
 7   parts to professional and amateur consumers at their 5,594 stores nationwide.
 8   O’Reilly operationalizes its value proposition of offering excellent customer
 9   service to consumers in part through the support of a strategic network of 28
10   distribution centers that channel inventory into O’Reilly’s stores. Indeed,
11   O’Reilly’s business model is designed so that timely product availability and
12   optimal inventory levels are achieved via this network of distribution centers,
13   which provide five-nights-a-week delivery to substantially all stores nationwide.
14   See https://corporate.oreillyauto.com/onlineapplication/careerpage/dc (last visited
15   June 4, 2021).
16               Plaintiff Pipich worked for O’Reilly as an hourly, non-exempt
17   employee at O’Reilly Distribution Center Number 25 in Moreno Valley,
18   California, from July 2015 to February 2021. Plaintiff’s job duties included loading
19   and transporting automobile parts from the distribution center to stores throughout
20   the southern California region.
21               As an hourly, non-exempt employee, Plaintiff was required to clock-
22   in and clock-out at one of O’Reilly’s timekeeping stations located inside the
23   distribution center. However, prior to clocking in each day, Plaintiff was subject to
24   a health screening for Covid-19 and a security inspection. After clocking out each
25   day, Plaintiff was subject to an additional security inspection.
26               The Covid-19 screening was implemented in 2020 following the
27   outbreak of the Coronavirus.
28               O’Reilly responded to the public health crisis by systematically

                                              4
                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.7 Page 7 of 15


 1   implementing various safety measures as recommended by the Centers for Disease
 2   Control and Prevention, one of which included conducting mandatory health
 3   screenings for employees, to mitigate the impact of Covid-19 on its operations and
 4   safeguard its business interests. The Covid-19 screening was necessary to ensure
 5   that the virus did not infect O’Reilly employees and disrupt the work performed by
 6   Plaintiff and the FLSA Collective.
 7               The Covid-19 screening was imposed by O’Reilly as a requirement for
 8   work each shift. The examination was conducted on O’Reilly’s premises, was
 9   required by O’Reilly, and was necessary for each employee to perform their work
10   for O’Reilly.
11               After parking, Plaintiff was subject to a Covid-19 screening at a
12   designated area in the employee parking lot and, later, in the employee lounge area,
13   both which anteceded access to the main distribution center area where employees
14   conduct their work and where timekeeping stations were located.
15               The screening process involved a security guard or another employee
16   of O’Reilly asking a series of questions related to the employee’s potential
17   exposure to the virus and present health symptoms. The screening process also
18   entailed taking the employee’s temperature. If the employee passed the
19   examination, they were allowed to continue to the next screening, namely the
20   security inspection, before they could officially clock in and commence getting
21   paid for their work.
22               The amount of time that it took to undergo the Covid-19 screening
23   ranged between two to five minutes on average. However, this time may have been
24   prolonged in excess of five minutes depending on the number of employees waiting
25   in line to undergo the screening.
26               This Covid-19 daily screening should have been paid by O’Reilly
27   because Plaintiff and the FLSA Collective were subject to the control of O’Reilly,
28   had no option of opting out of the health screening, and were threatened with

                                              5
                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.8 Page 8 of 15


 1   disciplinary action if they failed to comply with the screening. Plaintiff and the
 2   FLSA Collective, specifically, were compelled to remain on O’Reilly’s premises
 3   during the duration of the screening and perform a series of tasks as instructed by
 4   O’Reilly, namely answering questions related to their health and submitting to their
 5   temperatures being taken. O’Reilly’s control and restraint prevented Plaintiff and
 6   the FLSA Collective from using this time for their own purposes.
 7               Plaintiff and the FLSA Collective nonetheless completed this work
 8   while off the clock and without time added to their pay to compensate for the
 9   Covid-19 screening.
10               The security inspection prior to each shift, like the Covid-19 screening,
11   was imposed by O’Reilly as a requirement for work. The inspection was conducted
12   on O’Reilly’s premises, was required by O’Reilly, and entailed significant control
13   over employees’ time.
14               Plaintiff underwent the security screening in tandem with and after
15   undergoing the Covid-19 screening, but prior to clocking in for work, at the start
16   of the workday. Indeed, the security screening took place inside the employee
17   lounge, which was outside the main distribution center area where employees
18   accessed timekeeping stations to clock-in.
19               The security screening was overseen by a security guard. On a typical
20   morning, Plaintiff would walk up to the security station, empty his pockets, remove
21   any metals, open any bags, walk through the metal detector, collect all belongings,
22   walk across the remaining twenty-five (25) feet of the security area, enter the main
23   distribution center area, and only then would he clock in. The clock-in station was
24   located about ten (10) to fifteen (15) feet from the door. .
25               Moreover, Plaintiff was subject to the same security inspection upon
26   clocking out for the day and before leaving O’Reilly’s premises.
27               The amount of time that it took to undergo the pre- shift security
28   inspection ranged between three to five minutes on average. However, this time

                                               6
                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.9 Page 9 of 15


 1   may have been prolonged in excess of five minutes depending on the number of
 2   employees waiting in line to undergo the screening.
 3               The amount of time that it took to undergo the post-shift security
 4   inspection was slightly longer and ranged between three to ten minutes on average.
 5   However, this time often exceeded ten minutes depending on the number of
 6   employees waiting in line to undergo the screening. Plaintiff noticed that lengthier
 7   lines occurred most frequently post-shift when larger groups of employees ended
 8   their shift around the same time.
 9               The daily pre-shift and post-shift off-the-clock security inspections
10   should have been paid by O’Reilly because Plaintiff and the FLSA Collective were
11   subject to the control of O’Reilly, had no option of opting out of the security
12   inspections, and were threatened with disciplinary action if they failed to comply
13   with the security inspections. Plaintiff and the FLSA Collective, specifically, were
14   compelled to remain on O’Reilly’s premises during the duration of the inspection
15   and perform a series of tasks as instructed by O’Reilly, namely opening bags,
16   removing any metals, walking through the metal detector, and collecting all
17   belongings. O’Reilly’s control and restraint prevented Plaintiff and the FLSA
18   Collective from using this time for their own purposes. For instance, Plaintiff and
19   the FLSA Collective could not use their cell phones or consume any food given
20   that these items were prohibited from entering the distribution center.
21               The primary job duties of Plaintiff and the FLSA Collective do not fall
22   under any exemptions under the FLSA or California Wage Laws.
23               Plaintiff was regularly scheduled to work, and indeed worked, five (5)
24   days per week, typically between forty-five (45) and fifty (50) hours per week.
25   Plaintiff observed that other the FLSA Collective were scheduled to work, and
26   indeed worked, similar schedules.
27               On workdays where Plaintiff and the FLSA Collective already worked
28   over eight hours and in workweeks where Plaintiff and the FLSA Collective

                                              7
                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.10 Page 10 of 15


 1   already worked forty hours, the foregoing off-the-clock work resulted in time
 2   which Plaintiff and the FLSA Collective were not compensated at their overtime
 3   rate of pay.
 4                  Plaintiff is representative of the members of the Collective and is
 5   acting on behalf of their interests, as well as Plaintiff’s own interests, in bringing
 6   this action.
 7                  Plaintiff will fairly and adequately represent and protect the interests
 8   of the members of the Collective. Plaintiff has retained counsel competent and
 9   experienced in employment and wage and hour class action and collective action
10   litigation.
11                  The similarly situated members of the Collective are known to
12   O’Reilly, are readily identifiable, and may be located through O’Reilly’s records.
13   These similarly situated employees may readily be notified of this action, and
14   allowed to “opt-in” to this case pursuant to 29 U.S.C. § 216(b) for the purpose of
15   collectively adjudicating their claims for unpaid wages, unpaid overtime
16   compensation, liquidated damages (or, alternatively, interest), and attorneys’ fees
17   and costs under the FLSA.
18                        COLLECTIVE ACTION ALLEGATIONS
19                  Plaintiff brings the First Cause of Action (the FLSA claim) as an “opt-
20   in” collective action pursuant to 29 U.S.C. § 216(b) on behalf of a proposed
21   collection of similarly situated employees defined as:
22                  All current and former non-exempt employees of
23                  O’Reilly who underwent a COVID-19 screening or
24                  security inspection during at least one week in the three-
25                  year period before the filing of this Complaint to the
26                  present. (the “FLSA Collective”).
27                  Plaintiff, individually and on behalf of other similarly situated persons
28   defined above, seeks relief on a collective basis challenging O’Reilly’s policy and

                                                 8
                    COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.11 Page 11 of 15


 1   practice of failing to accurately record all hours worked, and failing to properly
 2   pay Plaintiff for all hours worked, including overtime compensation, for time spent
 3   undergoing Covid-19 screenings or security inspections. The number and identity
 4   of other similarly situated persons yet to opt-in and consent to be party-plaintiffs
 5   may be determined from O’Reilly’s records, and potential opt-ins may be easily
 6   and quickly notified of the pendency of this action.
 7                 Plaintiff’s claims for violations of the FLSA may be brought and
 8   maintained as an “opt-in” collective action pursuant to Section 216(b) of the FLSA,
 9   because Plaintiff’s FLSA claims are similar to the claims of the members of the
10   Collective.
11                 The members of the Collective are similarly situated, as they have
12   substantially similar non-exempt job duties and are subject to a common policy,
13   practice, or plan that requires them to perform work off-the-clock and without
14   compensation in violation of the FLSA.
15                 Unless the Court promptly issues such notice, the numerous similarly
16   situated workers nationwide will be unable to secure unpaid overtime pay, which
17   has been unlawfully withheld by O’Reilly.
18                            FIRST CAUSE OF ACTION
19                     Violation of the Fair Labor Standards Act
                                 29 U.S.C. § 201, et seq.
20
                     (On Behalf of Plaintiff and the FLSA Collective)
21

22                 Plaintiff re-alleges and incorporates the foregoing paragraphs as
23   though fully set forth herein.
24                 The FLSA requires that covered employees receive compensation for
25   all hours worked and overtime compensation not less than one and one-half times
26   the regular rate of pay for all hours worked in excess of forty hours in a workweek.
27   29 U.S.C. § 207(a) (1).
28                 At all times material herein, Plaintiff and the Collective are covered


                                               9
                   COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.12 Page 12 of 15


 1   employees entitled to the rights, protections, and benefits provided under the
 2   FLSA. See 29 U.S.C. § 203(e).
 3                Defendant O’Reilly Auto Enterprises, LLC, is a covered employer
 4   required to comply with the FLSA’s mandates. See 29 U.S.C. § 203(d); 29 C.F.R.
 5   § 552.109(a).
 6               O’Reilly violated the FLSA with respect to Plaintiff and the Collective,
 7   by, among other things, failing to compensate Plaintiff and the Collective for all
 8   hours worked and, with respect to such hours, failing to pay the legally mandated
 9   minimum wage or overtime premium for such work. See 29 U.S.C. § 206; 29
10   C.F.R. § 531.35; 29 U.S.C. § 207 (a), (g). O’Reilly also violated the FLSA by
11   failing to keep required, accurate records of all hours worked by Plaintiff and the
12   Collective. 29 U.S.C. § 211(c).
13               Plaintiff and the Collective are victims of a uniform and company-wide
14   compensation policy. This uniform policy, in violation of the FLSA, has been
15   applied to current and former non-exempt, hourly employees of O’Reilly, working
16   in its locations throughout the United States.
17               Plaintiff and the Collective are entitled to damages equal to the
18   mandated pay, including minimum wage, straight time, and overtime premium pay
19   within the three years preceding the filing of this Complaint, plus periods of
20   equitable tolling, because O’Reilly has acted willfully and knew or showed
21   reckless disregard for whether the alleged conduct was prohibited by the FLSA.
22               O’Reilly has acted neither in good faith nor with reasonable grounds
23   to believe that its actions and omission were not a violation of the FLSA, and as a
24   result thereof, Plaintiff and the Collective are entitled to recover an award of
25   liquidated damages in an amount equal to the amount of unpaid overtime pay or
26   prejudgment interest at the applicable rate. 29 U.S.C. § 216(b).
27               As a result of the aforesaid violations of the FLSA’s provisions, pay,
28   including straight time and overtime compensation, has been unlawfully withheld

                                             10
                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.13 Page 13 of 15


 1   by O’Reilly from Plaintiff and the Collective. Accordingly, O’Reilly is liable for
 2   unpaid wages, together with an amount equal as liquidated damages, attorneys’
 3   fees, and costs of this action.
 4                Wherefore, Plaintiff and the Collective request relief as hereinafter
 5   provided.
 6                                 PRAYER FOR RELIEF
 7         Plaintiff, on behalf of himself and the FLSA Collective, prays for relief as
 8   follows:
 9         a.     That, at the earliest possible time, the Plaintiff be allowed to give
10   notice of this collective action, or that the Court issue such notice, to the FLSA
11   Collective Members as defined herein so that such persons shall be informed that
12   this civil action has been filed, of the nature of the action, and of their right to join
13   the FLSA collective suit if they believe they were denied unpaid wages;
14         b.     The Court certify that this action may proceed as a collective action
15   under 29 U.S.C. §216(b);
16         c.     The Court find that O’Reilly’s policies and practices described above
17   violate the FLSA;
18         d.     The Court award damages, liquidated damages, restitution, and
19   statutory penalties to be paid by O’Reilly for the causes of action alleged herein;
20         e.     The Court award interest, costs, and expenses, including reasonable
21   attorneys’ fees and expert fees, pursuant; and
22         f.     The Court order such other and further legal and equitable relief the
23   Court deems just, necessary, and proper.
24

25

26

27

28


                                                11
                   COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.14 Page 14 of 15


 1
     Dated: June 16, 2021               Respectfully submitted,

 2                                      BERGER MONTAGUE PC
 3
                                        s/ Sophia M. Rios
 4                                      Sophia M. Rios
 5                                      Shanon J. Carson
                                        Camille Fundora Rodriguez
 6                                      Daniel F. Thornton
 7
                                        Attorneys for Plaintiff and the Proposed
 8                                      Collective
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                          12
                 COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:21-cv-01120-L-JLB Document 1 Filed 06/16/21 PageID.15 Page 15 of 15


 1                           DEMAND FOR JURY DEMAND
 2         Plaintiff hereby demands a trial by jury on all claims and issues for which
 3   Plaintiff and the Collective are entitled to a jury.
 4

 5
     Dated: June 16, 2021                    Respectfully submitted,

 6                                           BERGER MONTAGUE PC
 7
                                             s/ Sophia M. Rios
 8                                           Sophia M. Rios
 9                                           Shanon J. Carson
                                             Camille Fundora Rodriguez
10                                           Daniel F. Thornton
11
                                             Attorneys for Plaintiff and the Proposed
12                                           Collective
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                               13
                  COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
